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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA

  NAVY SEAL 1, et al., for themselves        )
  and all others similarly situated,         )
                                             )
                      Plaintiffs,            )
  v.                                         )      No. 8:21-cv-2429-SDM-TGW
                                             )
  LLOYD AUSTIN, in his official              )
  capacity as Secretary of the United        )
  States Department of Defense, et al.,      )
                                             )
                      Defendants.            )

                 PLAINTIFFS’ EMERGENCY MOTION
           FOR TEMPORARY RESTRAINING ORDER PENDING
         DECISION ON MOTION FOR PRELIMINARY INJUNCTION

                    RELIEF REQUESTED BY MARCH 12, 2022.

       Plaintiffs, pursuant to Fed. R. Civ. P. 65(b)(1) and the Court’s Order of October

 18, 2021 (Doc. 9), move the Court for an emergency temporary restraining order

 (TRO) to preserve the status quo ante for First Lieutenant Thomas Macik, United

 States Marine Corps, pending the Court’s decision on Plaintiffs’ Motion for

 Preliminary Injunction (Doc. 2) and Supplemental Memorandum and Renewed

 Motion for Preliminary Injunction. (Doc. 51). In support thereof, Plaintiffs show unto

 the Court as follows:

                                    INTRODUCTION

       In its first Order in this case, the Court invited Plaintiffs to “move on behalf of

 any individual member of the alleged class” who “imminently will suffer serious and

 irreparable injury before a preliminary injunction, if any, issues[]; whose interests are
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 otherwise not adequately protected by the hearing on November 15, 2021; and whose

 circumstances are for some singular reason markedly more acute than other members

 of the putative class.” (Doc. 9 at 4.)

        First Lieutenant Thomas Macik previously attempted to retain the undersigned

 counsel to represent him in this case, but was not successful because of the high

 demands on, and limited availability of, the undersigned counsel. Macik therefore

 proceeded to seek intervention and has moved the Court for relief on his own, and

 under his own name. (Docs. 93, 94, 96, 98, 126.) Now that Macik appears to be at the

 end of the road, and with the Defendants unwilling to grant him a reprieve from his

 forthcoming final separation—as early as this Saturday, March 12, 2022—the

 undersigned counsel have agreed to represent Macik and to assist in bringing his dire

 situation to the attention of the Court.

        As demonstrated below, and in the Declaration of First Lieutenant Thomas

 Macik, U.S. Marine Corps (Doc. 94-2), and in the Supplemental Declaration in

 Support of the Motion to Intervene of First Lieutenant Thomas Macik, U.S. Marine

 Corps (Doc. 126) filed yesterday, March 7, Macik faces immediate and irreparable

 harm to his free exercise rights and his continued service in the United States Marine

 Corps, absent immediate injunctive relief from the Court. Prior to filing this motion,

 the undersigned counsel contacted Defendants’ counsel to request that Defendants

 pause further adverse action against Macik, as they have recently agreed to do for one

 other TRO movant. (Doc. 123.) Defendants have not agreed to any stay or reprieve

 for Macik. Therefore, emergency, interim injunctive relief is necessary pending

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 determination of Plaintiffs’ preliminary injunction motion. Plaintiffs did not seek, or

 invite any action requiring, their return to this Court for emergency relief, but

 Defendants’ march toward final separation of all religiously unvaccinated service

 members continues unabated except by judicial intervention.

       Two and a half months after Macik filed an appeal of the denial of his religious

 accommodation request, the Marine Corps denied his appeal and ordered him to

 receive a COVID-19 vaccine within 7 days, i.e., by February 16. (Doc. 94-2, ¶ 11.) He

 was ordered to receive a separation physical, which was completed on February 28,

 2022. (Doc. 126, ¶ 6.) Three days later, the Marine Corps served him with the

 “Notification of Recommendation for Administrative Separation” and a copy of the

 “Report of Misconduct” addressed to the Commandant of the Marine Corps. (Doc.

 126 at ¶ 8 & Exs. M, N). Macik acknowledged receipt of these papers and requested

 to submit a response. (Doc. 126, ¶ 9 & Exs. O, P.)

       Macik promptly requested an extension of the 10-calendar day deadline to

 submit a response to the Notification and the Report of Misconduct, but he has not

 received a response. On the contrary, he has been informed that the person who could

 review the request for an extension will likely not see it before March 11. (Doc. 126,

 ¶ 10 & Ex. Q.)

       Macik has exhausted all administrative remedies prior to his final separation

 from the Marine Corps. The Marine Corps must allow 10 days for Macik to submit a

 written response or rebuttal, but there is no obligation on the part of the Marine




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 Corps to respond, assuming that they in fact consider his rebuttal at all. After that

 date (March 13 JST / March 12 EST), the paperwork is routed to be signed by two

 others, the Deputy Commandant for Manpower and Reserve Affairs and the Assistant

 Secretary of the Navy for Manpower and Reserve Affairs. When the latter signs, the

 separation will be final, and Macik will be discharged from the Marines for

 misconduct. (Doc. 126, ¶¶ 12–13.) He most likely will be discharged with a

 characterization of his service that will make him ineligible for educational assistance

 through the GI bill and may negatively affect his future employment. (Doc. 126, ¶ 8.)

                                     ARGUMENT

       In addition to the argument below, Plaintiffs incorporate by reference the legal

 argument contained in their Motion for Preliminary Injunction (Doc. 2), Reply in

 Support (Doc. 30), and Supplemental Memorandum and Renewed Motion for

 Preliminary Injunction (Doc. 51), as well as the Court’s analyses in its Preliminary

 Injunction and Order of February 18, 2022 (Doc. 111) and Order of March 2, 2022

 (Doc. 122). As variously set forth therein, Defendants’ refusal to consider or grant

 Macik’s request for religious exemption and accommodation while granting thousands

 of similarly situated nonreligious exemptions violates the First Amendment and the

 Religious Freedom Restoration Act.

       A TRO IS NEEDED TO PRESERVE THE STATUS QUO ANTE AND
       PREVENT IRREPARABLE INJURY PENDING THE COURT’S
       DECISION ON PLAINTIFFS’ PRELIMINARY INJUNCTION MOTION.

       “A Rule 65 TRO often functions to preserve the status quo until a court can

 enter a decision on a preliminary injunction application . . . .” United States v. DBB,


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 Inc., 180 F.3d 1277, 1282 n.5 (11th Cir. 1999); see also Grasso v. Dudek, No.

 6:130cv01536-Orl-28GK, 2014 WL 12621193, at *2 (M.D. Fla. Jan. 6, 2014) (“In the

 Eleventh Circuit, TRO’s are intended to protect against irreparable harm and to

 preserve the status quo until a decision on the merits can be made.”); Talib v. SkyWay

 Comms. Holding Corp., No. 8:05-cv-282-T-17TBM, 2005 WL 8160176, at *5 (M.D. Fla.

 Apr. 5, 2005) (same). (See also Doc. 67 at 8 (granting TRO for the “preservation of the

 status quo” while a decision on the preliminary injunction is pending).) Here, a TRO

 pending preliminary injunction is necessary to preserve the status quo ante and prevent

 immediate and irreparable harm that will occur for Macik as early as March 12.

       A.     Macik Faces Immediate and Irreparable Deprivation of Free Exercise
              Rights in the Form of Final Involuntary Separation and Irreparable
              Career Damage.

       Macik will suffer immediate and irreparable injury absent a TRO pending

 decision on Plaintiffs’ preliminary injunction motion because he will suffer the

 irretrievable sacrifice of cherished First Amendment liberties. See Roman Catholic

 Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63, 67 (2020) (“There can be no question that

 the challenged restrictions, if enforced, will cause irreparable harm. ‘The loss of First

 Amendment freedoms, for even minimal periods of time, unquestionably constitutes

 irreparable injury.’” (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976))).

       While Defendants have repeatedly represented to this Court that the separation

 process is lengthy and usually takes months to complete, there has been no such delay

 in the handling of Macik’s separation. He received the Notification of

 Recommendation for Administrative Separation and a copy of the Report of

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 Misconduct a mere 15 days after the expiration of the time to receive the COVID-19

 vaccine. At this time, the Marine Corps need only wait 4 more days before forwarding

 the Recommendation and Report to be signed off by two superior officers, which will

 complete the final separation process.

        B.     Only a TRO Pending Decision on Plaintiffs’ Motion for Preliminary
               Injunction Can Preserve the Status Quo.

        In entering a TRO, “the court’s task . . . is generally to restore, and preserve,

 the status quo ante, i.e., the situation that existed between the parties immediately prior

 to the events that precipitated the dispute.” FHR TB, LLC v. TB Isle Resort, LP, 865 F.

 Supp. 2d 1172, 1193 (S.D. Fla. 2011) (cleaned up). Indeed, where—as here—“an

 irremediably deteriorating condition threatens to thwart the Court’s ability to render a

 proper final judgment on the merits later, the Court must act to preserve or restore the

 vanishing status quo ante.” Schrank v. Bliss, 412 F. Supp. 28, 34 (M.D. Fla. 1976).

        Here, only an immediate TRO pending decision on Plaintiffs’ preliminary

 injunction motion (Docs. 2, 51) can preserve the status quo ante. Absent immediate

 injunctive relief, Macik will suffer irreparable deprivation of his free exercise rights and

 irreparable damage to his military career. Indeed, Macik faces either “(1) a most-likely-

 unlawful deprivation of [his] accumulated status and standing in the United States

 military, as well as prospective advancement and benefits, or (2) deprivation of [his]

 constitutional and statutory rights to Free Exercise and the statutory right to receive a

 religious exemption . . . .” (Order, Doc. 67, at 9.)




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       THE COURT SHOULD ISSUE THE TRO WITHOUT WAITING FOR
       ANY ADDITIONAL REPONSE FROM DEFENDANTS.

       Pursuant to Rule 65(b)(1), the Court may issue the TRO if specific sworn facts

 “clearly show that immediate and irreparable injury, loss, or damage will result to the

 movant before the adverse party can be heard in opposition,” and “the movant's

 attorney certifies in writing any efforts made to give notice and the reasons why it

 should not be required.” Fed. R. Civ. P. 65(b)(1). This motion satisfies the

 requirements for issuance of a TRO without waiting for an additional response from

 Defendants. (Defendants have previously responded to Macik’s pro se filings.)

       On March 7, 2022, shortly after the filing of Macik’s supplemental declaration

 setting forth the impending timeline for his final separation from the Marine Corps,

 Plaintiffs’ counsel conferred by e-mail with counsel for Defendants, in accordance with

 the Court’s October 18, 2021 Order (Doc. 9). Plaintiffs’ counsel sought Defendants’

 agreement to pause the imminent adverse action against Macik, pending the Court’s

 decision on Plaintiffs’ preliminary injunction motion. As of the filing of this motion,

 Defendants have not agreed to any pause. Given the imminent and irreparable adverse

 action facing Macik as shown above and supported by his declarations (Docs. 94, 126),

 the Court should not request or wait for any further response from Defendants before

 entering the requested TRO.

            CONCLUSION AND RULE 65(b)(1)(B) CERTIFICATION

       By signing below, and in accordance with the Court’s October 18, 2021 Order

 (Doc. 9) and Rule 65(b)(1)(B), the undersigned Plaintiffs’ counsel certifies the



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 foregoing efforts made to confer with Defendants’ counsel regarding the relief

 requested herein, and the foregoing reasons why the Court should issue the TRO

 immediately without waiting for any response from Defendants prior to issuing the

 TRO.

                                            /s/ Roger K. Gannam
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